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CGFD15 (6/27/22)




ORDERED in the Southern District of Florida on July 21, 2022




                                                                                                  Laurel M Isicoff
                                                                                                  Chief United States Bankruptcy Judge



                                               United States Bankruptcy Court
                                                  Southern District of Florida
                                                    www.flsb.uscourts.gov
                                                                                                                 Case Number: 22−14635−LMI
                                                                                                                 Chapter: 7

In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
ATC Cargo Inc.
8586 NW 72nd Street
Miami, FL 33166

EIN: 65−0882219


                                                    ORDER DISMISSING CASE
     At the time of filing of the above referenced case on June 15, 2022, the debtor was provided notice
by the court of filing requirements and the deadline(s) to correct deficiencies.

As of the date of this order, the debtor has failed to correct the following deficiency(ies) by the required
6/29/2022 deadline:

                       Official Bankruptcy Form 206Sum, A Summary of Your Assets and Liabilities
                       Official Bankruptcy Form 106A/B, Schedule A/B: Property
                       Official Bankruptcy Form 106C, Schedule C: The Property You Claim as Exempt
                       Official Bankruptcy Form 106D, Schedule D: Creditors Who Hold Claims Secured by
                       Property
                       Official Bankruptcy Form 106E/F, Schedule E/F: Creditors Who Have Unsecured Claims
                       Official Bankruptcy Form 106G, Schedule G: Executory Contracts and Unexpired Leases
                       Official Bankruptcy Form 106H, Schedule H: Your Codebtors
                       Official Bankruptcy Form 106I, Schedule I: Your Income
                       Official Bankruptcy Form 106J, Schedule J: Your Expenses
                       and (if applicable) Official Bankruptcy Form 106J2, Schedule J−2: Expenses for Separate
                       Household of Debtor 2
                       Official Bankruptcy Form 106Dec, Declaration About an Individual Debtor's Schedules
                       Official Bankruptcy Form 207, Statement of Financial Affairs for Individuals Filing for
                       Bankruptcy

        Because the debtor has failed to meet the deadline(s) above for the listed deficient items, it is

ORDERED that:
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 1. In accordance with 11 U.S.C. § 105(a), this case is dismissed.

 2. All pending motions are denied as moot.

 3. (If applicable) the trustee shall file a final report within 14 days of entry of this order.

 4. (If applicable) the debtor shall immediately pay to the Clerk, U.S. Court, C. Clyde Atkins United States
    Courthouse, 301 North Miami Avenue, Room 150, Miami, FL 33128, $0.00 for the balance of the
    filing fee as required by Local Rule 1017−2(E). Only certified check or money order (cash will not be
    accepted as a form of payment). Case number must be included on the certified check or money
    order. Filer should include a self?addressed stamped envelope if a receipt is requested. Any funds
    remaining with the trustee shall be applied to this balance in accordance with the Bankruptcy Code
    and Local Rule 1017−2(F), unless otherwise ordered by the court. The court will not entertain a
    motion for reconsideration of this order unless all unpaid fees are paid at the time the motion is filed.

 5. In accordance with Local Rule 1002−1(B), the clerk of court is directed to refuse to accept for filing
    any future voluntary petitions submitted by this debtor if the refiling violates a prior order of the court
    or if the petition is accompanied by an Application to Pay Filing Fee in Installments and filing fees
    remain due from any previous case filed by the debtor.
                                                                ###
The clerk shall serve a copy of this order on all parties of record.
